                      Case 4:15-cv-02075-JSW Document 2 Filed 05/08/15 Page 1 of 2

AO 440 (Rev, 06112) Summons in aCivi! Action


                                     UNITED STATES DISTRICT COURT
                                                              for th~
                                                  Northern District of California




1049 MARKET STREET, LLC, a California Limited                   )
      _ _ _-=Liabi1ity Company                                  )
                           Piaintiff(')                         )
                               v.                               )       Civil Action No.
  CITY AND COUNTY OF SAN FRANCISCO,                             )
BOARD OF SUPERVISORS OF THE CITY AND                            )
  COUNTY OF SAN FRANCISCO, PLANNING                             )
DEPARTMENT OF THE CITY AND COUNTY OF                            )
     SAN FRANCISCO, SAN FRANCISCO                               )
 DEPARTMENT OF BUILDING INSPECTION,                             )
  SAN FRANCISCO BUILDING INSPECTION                             )
 COMMISSION, SAN FRANCISCO BOARD OF                             )
            ...PEALS, and DOES 1-50
     _----"-AP
                          Defendant(s)


                                               SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
     CITY AND COUNTY OF SAN FRANCISCO, BOARD OF SUPERVISORS OF THE CITY AND COUNTY OF
     SAN FRANCISCO, PLANNING DEPARTMENT OF THE CITY AND COUNTY OF SAN FRANCISCO, SAN
     FRANCISCO DEPARTMENT OF BUILDING INSPECTION, SAN FRANCISCO BUILDING INSPECTION
     COMMISSION, SAN FRANCISCO BOARD OF APPEALS, and DOES I-50



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
ANDREW M. ZACKS (SBN 147794)
EMILY H. LOWTHER (SBN 284943)
ZACKS & FREEDMAN, P.C.
235 MONTGOMERY STREET, SUITE 400
SAN FRANCISCO, CA 94104

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the cOUit.



                                                                           CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
                         Case 4:15-cv-02075-JSW Document 2 Filed 05/08/15 Page 2 of 2




AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name afindividual and title, ifany)
was received by me on (date)


           D    I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or
                                                                      - - -                       ------



           D    I lcft the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or
                                 - - - -




           D    Tserved the summons on (name of individual)                                                                   , who is
            designated by law to accept service of process on behalf of (name of organizatton)
                                                                                on (date)                              ; or
                                                                                                                 - -




           D    I returned the summons unexecuted because
                                                                                                                 - - - - - -
                                                                                                                                  ; or

           D    Other (specifY):




           My fees are $                           for travel and $                 for services, for a total of $


           I declare under penalty ofpeljmy that this infOlmation is true.



 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
